














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


								




NO. PD-0007-08





JIMMY ARISTIDES VELASQUEZ, Appellant



v.



THE STATE OF TEXAS






ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE FIFTH COURT OF APPEALS

DALLAS COUNTY





	Per curiam.  keasler and hervey, jj., dissent.



ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i),
68.5 &amp; 9.3(b), because it does not contain a copy of the opinion of the court of appeals,
the petition exceeds 15 pages, and the original petition is not accompanied by 11 copies.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
Court of Criminal Appeals within thirty days after the date of this order.


En banc.

Delivered:  April 9, 2008

Do Not Publish.


